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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 LINHAI YUJING ELECTRONIC
 LIGHTING CO. LTD.,

                        Plaintiff,

                v.
                                                   Civil Action No. 1:24-cv-2099
 THE PARTNERSHIPS and
 UNINCORPORATED ASSOCIATIONS
 IDENTIFIED ON SCHEDULE “A”,

                        Defendants.


             SCHEDULE A – PUBLIC VERSION OF SEALED DOCUMENT

       This document is the public version of sealed Schedule A. The sealed version of Schedule

A will be filed separately under seal with a motion for leave to file documents under seal and will

remain under seal until further Order of this Court.
